               Case 1:19-bk-11124                     Doc 4          Filed 03/29/19 Entered 03/29/19 14:24:41                   Desc Main
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 Fill in this information to identify your case:

 Debtor 1                 Jill M. Porter
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Cash Max                                             Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of       2003 Suzuki XL-7 150,000 miles                     Reaffirmation Agreement.
    property             Vehicle not operable                               Retain the property and [explain]:
    securing debt:



    Creditor's         CNAC                                                 Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of       2012 Kia Forte 85000 miles                         Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 1

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 Debtor 1      Jill M. Porter                                                                        Case number (if known)


 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Jill M. Porter                                                           X
       Jill M. Porter                                                                   Signature of Debtor 2
       Signature of Debtor 1

       Date        March 29, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 2

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